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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   MIDLAND DIVISION

SAMIR SALEH,                                        §
     Plaintiff,                                     §
v.                                                  §      CASE NO. ______________
                                                    §
DOVER ARTIFICIAL                                    §
LIFT SYSTEMS, LLC,                                  §
      Defendants.                                   §      JURY TRIAL DEMANDED
                                                    §



                            PLAINTIFF’S ORIGINAL COMPLAINT




TO THE HONORABLE UNITED STATES DISTRICT COURT:

              SAMIR SALEH, Plaintiff in the above numbered and styled cause, files his

Original Complaint complaining of DOVER ARTIFICIAL LIFT SYSTEMS, LLC1,

Defendant herein, and in support thereof shows this Court as follows:

       1.        This is a suit in law and in equity, authorized and instituted pursuant to

                 Section 1981 of the Civil Rights Acts of 1866, 42 U.S.C. §1981 (“Section

                 1981”) and Title VII of the Civil Rights Act of 1964 as amended by the Civil

                 Rights Act of 1991, as amended, 42 U.S.C. §2000e, et seq. (“Title VII”). The

                 jurisdiction of this Court is invoked to secure the protection of and redress the

                 deprivation of rights secured by these laws protecting people such as the

                 Plaintiff from employment discrimination, including but not limited to a


1 Defendant Dover Artificial Lift Systems, LLC recently changed its name to Apergy ESP
Systems, LLC




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                 hostile work environment and termination, based on race (Arab/Egyptian) and

                 national origin (Egypt).

                                                          Venue

       2.        Venue is proper in the U.S. District Court for the Western District of Texas

                 Midland Division. Venue in this Court is provided for in any district in which

                 the private employer of the person maintains a place of business pursuant to

                 28 U.S.C. § 1391(b). A substantial part, if not all, of the cause of action

                 accrued or arose in the Western District of Texas. Defendant maintains

                 sufficient business contacts within the counties comprising the Midland

                 Division. Furthermore, the Plaintiff resided within the Midland Division

                 during the pertinent time in question.

                                                          Parties

       3.        Samir Saleh (“Samir”) is a United States citizen and is currently a resident of

                 Texas, and was a Texas resident during the time in question. At all times

                 material hereto, Samir was an employee of Defendant, as understood and

                 defined by Title VII and Section 1981.

       4.        Dover Artificial Lift Systems, LLC (“Dover”) is a corporation. It may be

                 served with this lawsuit by serving its registered agent for service of process,

                 Corporation Service Company D/B/A CSC-Lawyers INCO, 211 E. 7th Street,

                 Suite 620, Austin, TX 78701. At all times material hereto, Defendant was

                 Sumir’s employer, as understood and defined by Title VII and Section 1981.




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                                                           Facts2

       5.        Samir began his employment with Dover as an Account Manager (Sales) on

                 or about October 17, 2016 and was unlawfully terminated on or about March

                 30, 2017.

       6.        Soon after being hired Samir’s supervisor Mr. Duane Bullock (Caucasian

                 American) began to call Samir discriminatory names like “terrorist” or “my

                 little Egyptian”. Mr. Bullock would continue to call Samir racially insensitive

                 names up until the day he unlawfully terminated Samir. Indeed, Mr. Bullock

                 continued to make discriminatory comments about Samir even after Samir

                 was terminated.

       7.        Multiple employees heard Mr. Bullock’s discriminatory name calling toward

                 Samir but turned a blind eye to his racist behavior.

       8.        Samir would later learn from a coworker that Mr. Bullock did not want to hire

                 Samir in the first place, as it was Mr. Bullock’s boss (Daniel Tesfamacael,

                 African from Africa) who had made the decision to hire Samir.

       9.        On or about January 2017, Mr. Bullock moved Samir from the position of

                 Account Manager for sales to Account Manager for the “application” section

                 and then moved Samir once again to the “quotes” section of Dover. Although

                 Samir was hired for sales, Mr. Bullock intentionally set him up for failure by

                 moving him to different departments, without the training or proper support

                 for him to succeed. The next two employees hired as Account Manager’s, in



2 These facts are by no means exhaustive.



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               the sales division of Dover, were Caucasian Americans. Mr. Bullok’s ultimate

               goal was to have an all-white sales team.

       10.     On or about February/March 2017, during the course of a meeting with other

               employees, Mr. Bullock made the comment, “You don’t want anyone to think

               that you are a terrorist.” Samir would later find out that right around the time

               this “terrorist” commend was made, Mr. Bullock was sarcastically joking with

               other employees that he was scared to fire Samir because he was afraid Samir

               would “blow the place up.” Mr. Bullock also stated that Samir was worthless

               and hoped he would go back to Egypt. Samir’s national origin was a constant

               topic of conversation with Mr. Bullock when he spoke to other employees.

       11.     Samir was unlawfully terminated on or about March 20, 2017, by Mr.

               Bullock. Mr. Bullock based Samir’s termination on mistakes that were made

               by another employee who was a Caucasian American. Said employee was not

               terminated as was Samir who did nothing wrong. Samir explained to Jennifer

               Dowling (Caucasian American, HR) that he was not the one who made the

               alleged mistakes, but Ms. Dowling disregarded Samir’s explanation and Samir

               was summarily terminated.

       12.     Dover’s discriminatory actions were willful.

                                          CAUSES OF ACTION

       13.     Plaintiff hereby incorporate all facts stated in the preceding paragraphs as if

               set forth fully herein.

               Race and National Origin Discrimination under Section 1981 and Title
               VII
       14.     Defendant has intentionally discriminated against Plaintiff in violation of



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               Section 1981 and Title VII based on race (Arab/Egyptian) and national origin

               (Egypt), engaged in a hostile work environment based on race and national

               origin, and terminated Plaintiff due to his race and national origin.

                                                 DAMAGES

       15.     Plaintiff seeks actual damages, including but not limited to lost wages and

               benefits.

       16.     As a result of Defendant’s intentional, discriminatory and unlawful acts

               described above, Plaintiff has suffered and continues to suffer actual damages

               and compensatory damages including but not limited to mental anguish,

               humiliation, emotional distress and damage to his professional reputation, all

               to his detriment and compensable at law. Plaintiff also sues for the recovery

               of punitive damages as authorized by statute.

       17.     Plaintiff has no plain, adequate, or complete remedy at law to redress the

               wrongs alleged herein, and this action for preliminary and permanent

               injunction is the only available means of securing adequate relief. Plaintiff

               presently suffers and will continue to suffer irreparable injuries from

               Defendant's policies, practices, customs, and usages set forth herein.

       18.     The effect, purpose and intent of the policies and practices pursued by

               Defendant has been and continues to be to limit, classify, and willfully

               discriminate against employees on the basis of their race, national origin and

               otherwise adversely affect their status as employees because of same.

                                      PRAYER FOR RELIEF
           WHEREFORE, Plaintiff prays that this Court advance this cause on the docket,

order a speedy trial at the earliest practicable date and cause this case in every way to be


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expedited and upon such hearing to:

i.      Grant Plaintiff a preliminary and permanent injunction enjoining Defendant, its

        agents and employees and those acts from continuing to maintain the policies,

        practices, customs or usages which discriminate against Plaintiff because of race

        and national origin, or otherwise deprive Plaintiff of his rights and privileges

        secured by Federal Law.

ii.     Grant Plaintiff a declaratory judgment that the practices, policies, customs and

        usages complained of herein are violative of his rights protected by Section 1981

        and Title VII.

iii.    Order the Defendant to grant Plaintiff additional equitable, actual and

        compensatory relief, requiring said Defendant to make Plaintiff whole, including

        but not limited to promotions, back pay and front pay including all accrued

        interest, insurance benefits, pension benefits, bonuses, vacation benefits, sick

        leave, and other incidental benefits that attach to and were incidental to Plaintiff’s

        employment with Defendant and incidental to each such position sought by

        Plaintiff, as authorized by statute.

iv.     Order the Defendant to pay Plaintiff compensatory damages.

v.      Order the Defendant to pay punitive damages.

vi.     Order front pay for Plaintiff, who has been discharged, in lieu of reinstatement, if

        reinstatement is not feasible.

vii.    Grant an Order restraining Defendant from any retaliation against Plaintiff for

        participation in any form in this action.

viii.   Grant Plaintiff his costs incurred herein, and as part of such costs, reasonable



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       Attorneys’ fees and Expert witness fees and such further, additional or alternative

       relief and affirmative action orders as may appear equitable and just.



                                                    Respectfully submitted,

                                             By:    /S/ Ashok Bail__________________
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